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IN THE UNITED STATES DISTRICT COURT ""`"
FOR THE wEsTERN DISTRICT oF TENNESSEE 95ng

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c&@§“ 1222 2220
JOHN L. WILLIAMS, WD- @/?2§§4€;<§%§2.
Plaimiff, l l
v_ No. 03-1238-13/1>

CORRECTIONS CORPORATION OF
AMERICA, et al.,

Defendants.

 

ORDER OF REFERENCE

 

The above matter is hereby referred to Magistrate Judge Tu Pharn for all discovery and
non-dispositive motions presently pending and/or filed during the course of this litigation

IT IS SO ORDERED this é<ll day of May, 2005.

 

" J. DANIEL BREEN`
NIT D sTATEs DISTRICT JUDGE

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wnh nme 53 and/or 79 (a} FP_.<:P on 05 'OC[ 'OS_

 

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Wayne A. Ritchie

RITCH[E FELS & DILLARD, P.C.
606 W. Main St.

Ste. 300

KnoX\/ille7 TN 37901--112

W. Gaston Fairey

FAIREY PARISE & 1\/[[LLS, P.A.
P.O. Box 8443

Columbia, SC 29202

Terry Williams

LAW OFFICES OF TERRY WILLIAMS
206 S. Third

Delavan, WI 531 15

Brandon O. Gibson

PENTECOST GLENN & RUDD, PLLC
106 Stonebridge Blvd.

Jackson7 TN 38305

J ames I. Pentecost

PENTECOST GLENN & RUDD, PLLC
106 Stonebridge Blvd.

Jackson7 TN 38305

Robert W. Ritchie

RITCH[E FELS & DILLARD, P.C.
606 W. Main St.

Ste. 300

KnoX\/ille7 TN 37901

Joseph F. Welborn

WALKER BRYANT TIPPS & MALONE
150 Fourth Ave.7 N.

Ste. 2300

Nashville, TN 37219

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Honorable J. Breen
US DISTRICT COURT

